Case 1:03-cr-00032-IMK Document 290 Filed 11/15/05 Page 1 of 7 PageID #: 861
Case 1:03-cr-00032-IMK Document 290 Filed 11/15/05 Page 2 of 7 PageID #: 862
Case 1:03-cr-00032-IMK Document 290 Filed 11/15/05 Page 3 of 7 PageID #: 863
Case 1:03-cr-00032-IMK Document 290 Filed 11/15/05 Page 4 of 7 PageID #: 864
Case 1:03-cr-00032-IMK Document 290 Filed 11/15/05 Page 5 of 7 PageID #: 865
Case 1:03-cr-00032-IMK Document 290 Filed 11/15/05 Page 6 of 7 PageID #: 866
Case 1:03-cr-00032-IMK Document 290 Filed 11/15/05 Page 7 of 7 PageID #: 867
